Case: 24-8017    Document: 10          Filed: 07/15/2024    Pages: 24


                           No. 24-8017
 _______________________________________________________________

          IN THE UNITED STATES COURT OF APPEALS
                 FOR THE SEVENTH CIRCUIT
                   ________________________

     MONICA RICHARDS, individually and on behalf of all other
                similarly situated individuals
                         Plaintiff-Respondent,
                                  v.
             ELI LILLY & COMPANY; LILLY USA, LLC,
                        Defendants-Petitioners.
                     ________________________

         Appeal from the United States District Court for the
          Southern District of Indiana, No. 1:23-cv-242-TWP
                    ________________________

                  DEFENDANTS-PETITIONERS’
                PETITION FOR PANEL REHEARING
                    OR REHEARING EN BANC
                    ________________________


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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    24-08017
Appellate Court No: _______________

               Eli Lilly & Company et al. v. Monica Richards
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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          information required by Fed. R. App. P. 26.1 by completing item #3):
           Eli Lilly and Company; Lilly USA, LLC.
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     Eli Lilly: N/A. Lilly USA: Eli Lilly and Company is the sole member, and thus its parent corporation.
                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     None.
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ Yaakov M. Roth
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                                                               Date: ________________________________________

                         Yaakov M. Roth
Attorney’s Printed Name: __________________________________________________________________________________

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           N/A
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(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      /s/ James R. Saywell
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                                                               Date: ________________________________________

                         James R. Saywell
Attorney’s Printed Name: __________________________________________________________________________________

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          N/A
          ________________________________________________________________________________________________________



                      /s/ Christopher Pagliarella
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                                                               Date: ________________________________________

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Attorney’s Printed Name: __________________________________________________________________________________

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               Case: 24-8017              Document: 10                         Filed: 07/15/2024                   Pages: 24




                                                   TABLE OF CONTENTS

                                                                                                                                         Page

INTRODUCTION AND RULE 35(B) STATEMENT ............................................................. 1
BACKGROUND .......................................................................................................................... 3
ARGUMENT................................................................................................................................ 5
          I.         INTERLOCUTORY REVIEW IS WARRANTED UNDER § 1292(b). ............................ 5
                     A.         The Legal Standard for Sending Notice Is a Controlling
                                Question of Law ...................................................................................... 6
                     B.         Courts Are Divided Over the Legal Standard for Sending
                                Notice ........................................................................................................ 7
                     C.         Resolving the Notice Standard Now Would Advance the
                                Litigation .................................................................................................. 9
          II.        CONTRARY TO THE MOTIONS PANEL, THIS IS THE ONLY POSTURE THAT
                     ALLOWS FOR APPELLATE REVIEW OF THE STANDARD FOR SENDING
                     NOTICE................................................................................................................. 10
          III.       THE ORDER CONFLICTS WITH DECISIONS OF THIS COURT AND OTHER
                     CIRCUITS. ............................................................................................................. 12
CONCLUSION .......................................................................................................................... 14
CERTIFICATE OF COMPLIANCE ........................................................................................ 15
CERTIFICATE OF SERVICE ................................................................................................... 16




                                                                       i
             Case: 24-8017                Document: 10                      Filed: 07/15/2024                Pages: 24


                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)


CASES

Ahrenholz v. Bd. of Trs. of Univ. of Ill.,
   219 F.3d 674 (7th Cir. 2000) ..............................................................................................6, 10

Baptist v. City of Kankakee,
   481 F.3d 485 (7th Cir. 2007) ....................................................................................................6

Bergman v. Kindred Healthcare, Inc.,
   949 F. Supp. 2d 852 (N.D. Ill. 2013) ...................................................................................3, 8

Bigger v. Facebook, Inc.,
   947 F.3d 1043 (7th Cir. 2020) ........................................................................................ passim

Calloway v. AT&T Servs., Inc.,
   2024 WL 1328823 (N.D. Ill. Mar. 28, 2024) ...........................................................................9

Carter v. Ind. State Fair Comm’n,
   2012 WL 4481348 (S.D. Ind. Sept. 28, 2012) .........................................................................8

Clark v. A&L Homecare & Training Ctr., LLC,
   68 F.4th 1003 (6th Cir. 2023) ......................................................................................... passim

Espenscheid v. DirectSat USA, LLC,
   705 F.3d 770 (7th Cir. 2013) ..........................................................................................3, 9, 11

Hoffmann-La Roche Inc. v. Sperling,
   493 U.S. 165 (1989)...............................................................................................................3, 8

Genesis Healthcare Corp. v. Symczyk,
   569 U.S. 66 (2013).....................................................................................................................3

In re Miedzianowski,
    735 F.3d 383 (6th Cir. 2013) ....................................................................................................7

In re New Albertsons,
    No. 21-2577, 2021 WL 4028428 (7th Cir. Sept. 1, 2021)...............................................11, 14

                                                                    ii
            Case: 24-8017                Document: 10                      Filed: 07/15/2024                Pages: 24


Ivery v. RMH Franchise Corp.,
    280 F. Supp. 3d 1121 (N.D. Ill. 2017) .....................................................................................3

Johnson v. Burken,
   930 F.2d 1202 (7th Cir. 1991) ..................................................................................................7

Lusardi v. Xerox Corp.,
   118 F.R.D. 351 (D.N.J. 1987) ......................................................................................... passim

Lusardi v. Xerox Corp.,
   122 F.R.D. 463 (D.N.J. 1988) ...................................................................................................7

McColley v. Casey’s Gen. Stores, Inc.,
  559 F. Supp. 3d 771 (N.D. Ind. 2021) ..............................................................................9, 13

Mitchell v. Villas of Holly Brook Senior Living, LLC,
   2024 WL 3342504 (C.D. Ill. July 8, 2024) .............................................................................14

Skevington v. Hopebridge, LLC,
   2024 WL 1175448 (S.D. Ind. Mar. 18, 2024) ........................................................................14

Sokaogon Gaming Enter. Corp. v. Tushie-Montgomery Assocs., Inc.,
   86 F.3d 656 (7th Cir. 1996) ......................................................................................................7

Swales v. KLLM Transp. Servs., LLC,
   985 F.3d 430 (5th Cir. 2021) .......................................................................................... passim

Thomas v. Maximus, Inc.,
   2022 WL 1482008 (E.D. Va. May 10, 2022) ...........................................................................6

U.S. Parole Comm’n v. Geraghty,
   445 U.S. 388 (1980).................................................................................................................11

Van Note v. Int’l Flavors & Fragrances, Inc.,
   2024 WL 1994314 (C.D. Ill. May 3, 2024) ........................................................................9, 13

Vanegas v. Signet Builders, Inc.,
   2023 WL 5663259 (W.D. Wisc. Sept. 1, 2023) ...........................................................2, 12, 13

Woods v. N.Y. Life Ins. Co.,
  686 F.2d 578 (7th Cir. 1982) ..........................................................................................2, 6, 13


                                                                  iii
             Case: 24-8017                 Document: 10                        Filed: 07/15/2024                 Pages: 24


STATUTES

28 U.S.C. § 1292 ................................................................................................................... passim

29 U.S.C. § 216 ...............................................................................................................................3

29 U.S.C. § 626 ...............................................................................................................................3




                                                                      iv
        Case: 24-8017       Document: 10           Filed: 07/15/2024     Pages: 24


                  INTRODUCTION AND RULE 35(B) STATEMENT

   This proceeding involves an important, recurring question that has divided federal

courts: the legal standard for sending notice to members of a putative “collective action.”

The Fifth and Sixth Circuits recently held that, before sending such notice, courts must

rigorously review whether the putative collective’s members are “similarly situated” in

light of all the record evidence. Clark v. A&L Homecare & Training Ctr., LLC, 68 F.4th 1003,

1009 (6th Cir. 2023); Swales v. KLLM Transp. Servs., LLC, 985 F.3d 430, 443 (5th Cir. 2021).

But district courts in this Circuit follow a competing, aberrational approach, the Lusardi

two-step, under which notice is sent at the threshold based on a standard so lax it is

almost impossible not to satisfy—with all meaningful consideration of similarity deferred

until a second step, after notice and full merits discovery.

   The district court below followed Lusardi, ordering nationwide notice to a sweeping

collective on the flimsiest of showings, while ignoring conflicting evidence and blinding

itself to “merits issues.” But it then certified the matter for interlocutory review—and

stayed notice pending such review. That gave this Court a singular opportunity to decide

whether to adopt Lusardi, or instead the Fifth and Sixth Circuits’ approach, to govern

collective actions in this Circuit. That is unquestionably an important issue that satisfies

all the requisites for interlocutory review under 28 U.S.C. § 1292(b).

   A motions panel, however, denied the petition. It acknowledged “that the process for

certifying a collective action” is “a recurring issue,” and did not deny that the § 1292(b)

elements were satisfied, but declared (sua sponte) that it would be better to defer review

until after Lusardi’s “second step,” with “a more complete record.” ECF 7 (Order).

                                              1
         Case: 24-8017       Document: 10           Filed: 07/15/2024       Pages: 24


   Respectfully, that defeats the purpose: Review later will be impossible. The certified

question that has divided courts is whether to send out notice at the threshold, without a

developed factual record. Once notice is sent, and discovery is completed, and the more

rigorous step-two analysis is conducted, that question will no longer matter. Lusardi’s

harms—soliciting baseless claims, imposing unfair settlement pressure, and subjecting

defendants to costly merits discovery for “collectives” that could never hold up—will

already have been incurred and cannot be undone. Whether the district court erred by

sending premature notice on a shoddy, one-sided record will be moot. Declining review

until after notice is thus not deferring review—it is defeating it. That is why the Fifth and

Sixth Circuits each rendered their decisions on § 1292(b) review at step-one. If this Court

declines to answer the question in this posture, it will never answer it.

   The panel’s reliance on the mirage of later review conflicts with orders of this Court

granting interlocutory review of other threshold “notice” issues at the only time possible:

before notice is sent. Bigger v. Facebook, Inc., 947 F.3d 1043, 1048 (7th Cir. 2020); Vanegas v.

Signet Builders, Inc., 2023 WL 5663259 (W.D. Wisc. Sept. 1, 2023), permission to appeal

granted and docketed, No. 23-2964; Woods v. N.Y. Life Ins. Co., 686 F.2d 578, 582 (7th Cir.

1982). And, since district courts in this Circuit are standing by Lusardi absent contrary

direction from this Court (direction for which they have pleaded), denying review

effectively rejects the Fifth and Sixth Circuits’ decisions, without briefing or argument.

   The panel or en banc court should therefore grant rehearing, grant Lilly’s petition for

interlocutory appeal, and proceed to merits briefing on whether to adopt or displace

Lusardi. It is truly now or never.

                                               2
        Case: 24-8017       Document: 10           Filed: 07/15/2024      Pages: 24


                                     BACKGROUND

   1. The Fair Labor Standards Act (FLSA) and Age Discrimination in Employment Act

(ADEA) authorize plaintiffs to sue on behalf of “other employees similarly situated.” 29

U.S.C. §§ 216(b), 626(b). This Court has held that the “similarity” test should mirror Rule

23’s commonality inquiry. See Espenscheid v. DirectSat USA, LLC, 705 F.3d 770, 772 (7th

Cir. 2013). Unlike class actions, however, plaintiffs in “collective action[s]” must opt in.

Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 75 (2013). To facilitate that process, the

Supreme Court has held that courts may send “notice” to “similarly situated” employees.

Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 169-73 (1989). The Court did not, however,

announce the threshold showing sufficient for this notice.

   Filling that gap, many district courts (including in this Circuit) follow a two-step

process taken from Lusardi v. Xerox Corp., 118 F.R.D. 351 (D.N.J. 1987). Step-one calls for

sending notice based on a “modest factual showing,” with “similarly situated” defined

“lenient[ly].” Ivery v. RMH Franchise Corp., 280 F. Supp. 3d 1121, 1132-33 (N.D. Ill. 2017).

That step is known as “conditional certification.” Unlike in the Rule 23 context, courts

following this process “do[] not … consider opposing evidence presented by a defendant”

or address “merits” questions. Bergman v. Kindred Healthcare, Inc., 949 F. Supp. 2d 852,

855-56 (N.D. Ill. 2013).    Only “[t]hereafter,” at step-two after “merits discovery is

complete—assuming the case has not settled in the meantime, which it usually has—the

court takes a closer look at whether th[e] ‘other employees’ are, in fact, similarly situated.”

Clark, 68 F.4th at 1008. If, at that stage, the court determines that the putative plaintiffs

never were “similarly situated,” the collective is “decertified.”

                                              3
        Case: 24-8017       Document: 10           Filed: 07/15/2024     Pages: 24


   Two Courts of Appeals have recently rejected this approach, holding that a plaintiff

must first make a meaningful showing—under all the evidence—that the employees are

“similarly situated.” Clark, 68 F.4th at 1009-11; Swales, 985 F.3d at 434. Then—and only

then—may notice be sent.

   2. The question here concerns whether notice should be sent to a putative collective

in the first place. Monica Richards, a 53-year-old employee of petitioners (Lilly), claims

she was denied a promotion based on age. Dkt. 82 at 2. Based only on the complaint and

four affidavits (including her own and her boyfriend’s), she asked the court to authorize

notice to an ADEA collective exceeding 1,000 employees across locations, departments,

jobs, supervisors, and other relevant metrics. All they have in common is their age (over

40) and that “they were denied promotions for which they were qualified.” Id.

   “In the absence of a Seventh Circuit case” saying otherwise, the court approved notice

under the “lenient” Lusardi test. Id. at 2, 6. It applied a “modest” standard and did not

“consider” Lilly’s “substantial” evidence that the collective did not share the requisite

similarity. Id. at 7-9, 13. But, recognizing the importance of this threshold question on

front-end notice, the court certified it under § 1292(b). Dkt. 102. The legal question of the

“plaintiff’s burden” to obtain court-issued notice was: (1) “controlling,” since it “would

certainly affect” the litigation’s scope; (2) had “generated sufficient controversy” among

courts to be reasonably debatable; (3) and could “materially advance” resolution of the

case. Id. at 5-8, 11. The court thus stayed the issuance of notice pending this Court’s

review of the legal standard. Id. at 12.



                                             4
          Case: 24-8017       Document: 10           Filed: 07/15/2024      Pages: 24


     3. A motions panel refused the invitation. The panel acknowledged that “the process

for certifying a collective action” is a “recurring issue for district courts.” Order. But it

nonetheless denied review on the sole ground—which Plaintiff had not advanced—that

“it is better to review that process on a more complete record.” Id. The panel said it

would be “more receptive to an interlocutory appeal” later in the process—after notice is

sent, discovery is completed, and the court evaluates similarity in a rigorous way at the

decertification stage. Id.

                                         ARGUMENT

     The panel or en banc court should grant rehearing, because a § 1292(b) petition at this

stage presents the only opportunity for this Court to weigh in on the active conflict over

the legal standard for sending notice to a putative collective. That is, by all accounts, an

important, frequently recurring issue on which courts in this Circuit need guidance. This

is the chance to provide it; declining to do so would amount in practice to endorsing

Lusardi and splitting from the recent Fifth and Sixth decisions to the contrary. The panel’s

belief that it could defer the front-end question of when to issue notice until after notice is

already sent is fundamentally mistaken.

I.   INTERLOCUTORY REVIEW IS WARRANTED UNDER § 1292(b).

     Section 1292(b) authorizes this Court to “permit an appeal” if the district court certifies

an order as (i) “involv[ing] a controlling question of law,” (ii) as to which there exists a

“substantial ground for difference of opinion”; and (iii) “immediate appeal … may

materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). The

district court found each requirement satisfied. Dkt. 102. That was plainly correct.

                                                5
         Case: 24-8017       Document: 10           Filed: 07/15/2024      Pages: 24


   A.      The Legal Standard for Sending Notice Is a Controlling Question of Law.

   At the threshold, “[w]hether the court applied the correct legal standard”—here, the

standard for sending court-ordered notice—is a quintessential “question of law.” Baptist

v. City of Kankakee, 481 F.3d 485, 490 (7th Cir. 2007). The Fifth and Sixth Circuits readily

recognized as much granting permission to appeal on the same question. Swales, 985 F.3d

at 439; Clark, 68 F.4th at 1009; see also, e.g., Thomas v. Maximus, Inc., 2022 WL 1482008, at *4

(E.D. Va. May 10, 2022) (“[T]he determination of whether Lusardi or Swales should control

whether a court certifies a collective presents a purely legal question.”).

   Importantly, a court can “decide … without having to study the record,” Ahrenholz v.

Bd. of Trs. of Univ. of Ill., 219 F.3d 674, 676-77 (7th Cir. 2000), whether the plaintiff must

prove similarity by a preponderance, whether conflicting evidence should be considered,

and whether merits issues should be disregarded. The motions panel’s desire for factual

development thus puts the cart before the horse. The question is what showing a plaintiff

must make to justify notice. Factual development may be necessary to evaluate whether

the plaintiff has made that showing, but not to identify what the showing must be.

   For her part, Richards has contended that notice is a matter of “discretion,” not law,

but that ignores that the bounds of discretion remains a question of law. Indeed, this

Court has accepted multiple interlocutory appeals on whether a collective was properly

approved for notice, and has reversed when the district court did not follow the proper

legal standard. Bigger, 947 F.3d at 1047; see also Woods, 686 F.2d at 582 (affirming “power

to authorize notice” but rejecting “specific notice”).




                                               6
        Case: 24-8017        Document: 10           Filed: 07/15/2024      Pages: 24


   A question of law is considered “controlling” if its resolution “is quite likely to affect

the further course of the litigation.” Sokaogon Gaming Enter. Corp. v. Tushie-Montgomery

Assocs., Inc., 86 F.3d 656, 659 (7th Cir. 1996). Here, the district court confirmed it would.

It not only acknowledged Lilly’s “substantial” evidence, Dkt. 82 at 7-8, but stated that a

heightened standard would “certainly affect as a practical matter the scope of the notice

and the size of the collective,” Dkt. 102 at 6. In any event, it is sufficient if “interlocutory

reversal might save time for the district court, and time and expense for the litigants.”

Johnson v. Burken, 930 F.2d 1202, 1205-06 (7th Cir. 1991). It surely might here.

   B.      Courts Are Divided Over the Legal Standard for Sending Notice.

   There is a “substantial ground for difference of opinion” under § 1292(b) if there is “a

circuit split on a question that [this] circuit has not answered.” In re Miedzianowski, 735

F.3d 383, 384 (6th Cir. 2013) (emphasis omitted). Two Circuits have squarely rejected

Lusardi, and the question remains open in this Court.

   The district court followed Lusardi, which permitted notice based on a plaintiff’s own

description of other employees on the assumption that facilitating notice is “the best way

to find out” if “an honest to goodness case” exists. 118 F.R.D. at 354. The Lusardi court

later dismissed the joined plaintiffs when—at what is now termed step-two—it applied

meaningful scrutiny to the evidentiary record and determined they were not “similarly

situated” because (as in this case) they were employed in “different departments, groups,

organizations, sub-organizations, units and [] offices.” Lusardi v. Xerox Corp., 122 F.R.D.

463, 465 (D.N.J. 1988).




                                               7
         Case: 24-8017       Document: 10           Filed: 07/15/2024      Pages: 24


   Lusardi’s leniency at the notice stage has softened to nearly a pleading standard. All

a plaintiff must do is allege similarity and “provide an affidavit, declaration, or other

support,” Carter v. Ind. State Fair Comm’n, 2012 WL 4481348, at *2 (S.D. Ind. Sept. 28, 2012),

with no attention paid to “opposing evidence presented by a defendant,” or to “merits

determinations” bearing on similarity, Bergman, 949 F. Supp. 2d at 855-56. This is a recipe

for “abuse of the collective-action device.” Bigger, 947 F.3d at 1049.

   Courts have recently begun to identify this flaw and reject Lusardi. In Swales, the Fifth

Circuit “reject[ed] Lusardi’s two-step” and held that “a district court must rigorously

scrutinize” similarity “from the outset of the case, not after a lenient, step-one ‘conditional

certification,’” given the “formidable settlement pressure” prompted by such notice. 985

F.3d at 434, 436. Court-authorized notice in the Fifth Circuit may occur only after the

court considers “all available evidence” and intertwined merits issues, and the plaintiff

carries her “burden” to show similarity. Id. at 442-43.

   The Sixth Circuit similarly rejected sending “notice upon merely a ‘modest showing’

or under a ‘lenient standard’ of similarity.” Clark, 68 F.4th at 1010. It concluded that

approach “resemble[s] ‘the solicitation of claims,’” contrary to Supreme Court precedent.

Id. (quoting Hoffmann-La Roche, 493 U.S. at 174). In place of Lusardi, the Sixth Circuit held

“plaintiffs must show a ‘strong likelihood’” of similarly-situated status to prompt notice.

Id. at 1011. Unlike Lusardi, this “heightened standard” contemplates early “discovery”

and a “requirement to litigate defenses,” even when they overlap with the merits. Id. at

1012 (Bush, J., concurring); see id. at 1009 (majority).



                                               8
        Case: 24-8017       Document: 10           Filed: 07/15/2024      Pages: 24


   In this Circuit, most district courts have declined to adopt Swales or Clark, simply

“[b]ecause most courts have used the two-step approach.” Van Note v. Int’l Flavors &

Fragrances, Inc., 2024 WL 1994314, at *3 n.3 (C.D. Ill. May 3, 2024). Even courts that share

the reservations of the Fifth and Sixth Circuits feel obliged to follow Lusardi because it

“remains the dance of this circuit … for the time being.” McColley v. Casey’s Gen. Stores,

Inc., 559 F. Supp. 3d 771, 776 (N.D. Ind. 2021); see also Calloway v. AT&T Servs., Inc., 2024

WL 1328823, at *3 (N.D. Ill. Mar. 28, 2024) (applying Lusardi while “await[ing]” appellate

“instruction on FLSA collective certification”). The increased and deepening division not

only confirms the “substantial ground for difference of opinion,” 28 U.S.C. § 1292(b), but

makes it prudent to resolve that uncertainty now, on interlocutory review, given that the

opportunity has arisen.

   C.     Resolving the Notice Standard Now Would Advance the Litigation.

   Finally, it is “obvious” that “clarifying the proper scope of the collective, sooner rather

than later, would ultimately serve to expedite, not protract, the eventual resolution in this

case.” Dkt. 102 at 11. The district court strongly suggested that if—contra Lusardi, but as

Swales and Clark demand—it considered Lilly’s “substantial allegations (supported by

exhibits and declarations),” Dkt. 82 at 8, that would “certainly affect … the scope of the

notice and the size of the collective,” Dkt. 102 at 6. Yet notice to a sweeping nationwide

collective now hinges on four affidavits that failed to identify a single specific similarly-

situated plaintiff, even though the “similarly situated” inquiry is supposed to mirror Rule

23’s rigorous requirements. Espenscheid, 705 F.3d at 772.




                                              9
        Case: 24-8017       Document: 10           Filed: 07/15/2024     Pages: 24


   Regardless of whether a heightened standard eliminates the collective or only limits

its scope, resolving that question now would advance the litigation, by removing some

set of potential plaintiffs from the many stages of pre-trial work: notice, merits discovery,

and “decertification.” Indeed, under the status quo, the magistrate judge has already

relied on the scope of the certified collective to turn discovery into a nationwide fishing

expedition. See Dkt. 95 at 9 (refusing to limit discovery “by department” because this is

an “expansive class action extending across Defendants’ large organization”), objections

to R&R pending. Given the morass ahead, it is hard to imagine that interlocutory review

would not “promise to speed up the litigation.” Ahrenholz, 219 F.3d at 675.

II. CONTRARY TO THE MOTIONS PANEL, THIS IS THE ONLY POSTURE THAT ALLOWS FOR
    APPELLATE REVIEW OF THE STANDARD FOR SENDING NOTICE.

   The motions panel did not deny that the § 1292(b) requirements were satisfied. To the

contrary, the panel acknowledged that “the process for certifying a collective action … is

a recurring issue for district courts,” which cuts in favor of review. Order. Nonetheless,

the panel denied the petition, on a basis that Plaintiff had never advanced: “it is better to

review that process on a more complete record.” Id. The panel said it would “be more

receptive to an interlocutory appeal from an order resolving certification at the second

step of the two-step process”—that is, after notice and full discovery. Id.

   Respectfully, that sua sponte reasoning misses the point. The unresolved issue that

divides the courts, and that the district court certified, concerns the threshold burden to

obtain court-ordered notice. That step-one question cannot be reviewed later.




                                             10
        Case: 24-8017       Document: 10          Filed: 07/15/2024     Pages: 24


   At this juncture, it remains possible for this Court to reject Lusardi and adopt a more

rigorous standard for sending notice. But if the case proceeds through Lusardi’s second

step—i.e., notice is issued, full discovery ensues, and the court then revisits similarity—

the question now presented will be moot. If the court decertifies at step-two, there will be

nothing for Lilly to appeal. And if the court concludes that the evidence shows similarity,

it will no longer matter whether the court erred by sending notice too early. 1 Either way,

the standard for notice will be “no longer ‘live.’” U.S. Parole Comm’n v. Geraghty, 445 U.S.

388, 396 (1980). The error’s harm—costly classwide discovery and “increase[d] pressure

to settle,” Bigger, 947 F.3d at 1049—could no longer be unwound. Even if not technically

moot, the standard for notice would certainly no longer satisfy the § 1292(b) factors: The

question will no longer be “controlling” after the bell has been rung, and a retrospective

assessment on whether an earlier stage of litigation was handled correctly would not

advance ultimate termination of the case.

   For that reason, the Court will never be able to review the propriety of Lusardi at any

point after the step-one determination—not after final judgment, and not upon a § 1292(b)

petition at step-two. Nor is there any other avenue for review. In particular, this Court

has already recognized that mandamus is not appropriate because the law in this area is

unsettled and debatable, not clear and indisputable. In re New Albertsons, No. 21-2577,

2021 WL 4028428 (7th Cir. Sept. 1, 2021).



   1
     Of course, the Court could still review whether the district court correctly evaluated
“similarity” at Lusardi step-two, but that is not the question courts are struggling with,
and the legal standard for that step was already established by Espenscheid.

                                            11
        Case: 24-8017       Document: 10           Filed: 07/15/2024     Pages: 24


   Interlocutory review at this stage is thus the only way this Court will be able to answer

this important, recurring question. Plus, if the Court declines this opportunity, no district

judge will ever certify the question for appeal again. After all, every case at Lusardi step-

one will lack a developed factual record—the whole point of Lusardi is to approve notice

without a robust factual showing. Contrary to the panel’s belief, denying review here and

now is thus denying review forever and always. That would not be responsible.

III. THE ORDER CONFLICTS WITH DECISIONS OF THIS COURT AND OTHER CIRCUITS.

   Although rehearing denial of a § 1292(b) petition may be unusual, this denial warrants

it, not only because of its practical implications, but also because the Order conflicts with

other decisions of this Court and other Courts of Appeals.

   First, this Court has repeatedly granted interlocutory review in similar postures—that

is, before issuance of notice—in cases presenting questions relating to the propriety of

such notice. In none of these instances did the lack of a full record stand in the way.

   For example, in Bigger, this Court granted permission to appeal on whether Facebook

was required to issue notice even though “most proposed recipients had entered mutual

arbitration agreements making them ineligible to join the action.” 947 F.3d at 1048. The

Court ultimately held that sending notice to parties who have been shown to be ineligible

to join an action undermines “the court’s obligations to maintain neutrality and to shield

against abuse of the collective-action device.” Id. at 1050.

   Likewise, in Vanegas, the district court found it had jurisdiction over a nationwide

collective action, but stayed further proceedings pending interlocutory appeal, “to clarify

the proper scope of the collective before Luna Vanegas distributes notice to a nationwide

                                             12
         Case: 24-8017         Document: 10         Filed: 07/15/2024      Pages: 24


collective.” Vanegas, 2023 WL 5663259, at *4 (emphasis added). Consistent with this logic,

this Court granted permission to appeal at this threshold stage before fact development.

See Order, No. 23-8020 (Oct. 6, 2023). That case remains pending.

   Looking further back, before Hoffman-LaRoche, a district court certified the question

whether it could issue notice in an ADEA collective action. Woods, 686 F.2d at 579. Rather

than defer the question, the Court promptly took it up, affirming the power to authorize

notice but rejecting “the specific notice” as improperly serving as “a judicial invitation to

join a lawsuit.” Id. at 582.

   In taking up each of these cases at the threshold, the Court appreciated that a dispute

over whether, when, or to whom to issue collective notice must be resolved before notice

issues—not deferred until the issue is moot. The same is true here.

   Second, the Order generates a functional circuit split with the Fifth and Sixth Circuits.

Both of those courts have clearly and unambiguously “reject[ed] Lusardi’s two-step.”

Swales, 985 F.3d at 443; see also Clark, 68 F.4th at 1009. Yet the Order implicitly blesses that

approach, by explicitly directing the district court to proceed all the way through it—i.e.,

to complete “the second step of the two-step process.”

   On a more practical level, “most” courts in this Circuit have stuck by the Lusardi two-

step even after Swales and Clark. Van Note, 2024 WL 1994314, at *3 n.3. Even decisions

expressing reservations often adhere to the two-step as “the dance of this circuit … for

the time being.” McColley, 559 F. Supp. 3d at 776. By declining review, and doing so on

a rationale that (as explained) would foreclose appellate review entirely, the Order would

freeze in place that status quo—and its division from two sister Circuits.

                                              13
        Case: 24-8017         Document: 10         Filed: 07/15/2024      Pages: 24


   Indeed, district courts have already overread New Albertsons’ denial of mandamus as

reason to stick with Lusardi. See, e.g., Mitchell v. Villas of Holly Brook Senior Living, LLC,

2024 WL 3342504, at *11 (C.D. Ill. July 8, 2024) (citing this Court’s “analysis in the context

of a mandamus action” as reason to follow Lusardi); Skevington v. Hopebridge, LLC, 2024

WL 1175448, at *3 (S.D. Ind. Mar. 18, 2024) (noting that New Albertsons said the two-step

is “commonly employ[ed]”). If one unpublished order merely concluding that the Lusardi

two-step was not foreclosed by existing law has nearly settled the issue across the Circuit,

a second order directing a district court to proceed through “the second step of the two-

step process” will functionally leave the district courts applying a different—and severely

prejudicial—process relative to the district courts of other Circuits.

                                      CONCLUSION

   The Court should grant rehearing and accept the appeal.



       Dated: July 15, 2024                        Respectfully submitted,

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                                             14
        Case: 24-8017        Document: 10        Filed: 07/15/2024     Pages: 24


                          CERTIFICATE OF COMPLIANCE

      I certify that this motion complies with the word-length limitation of Federal Rules

of Appellate Procedure 35(2)(A) and 40(b)(1), because, as calculated by Microsoft Word

365, it contains 3,890 words, excluding the parts of the brief exempted by Federal Rule of

Appellate Procedure 32(f).

      I further certify that this motion also complies with the typeface requirements of

Federal Rule of Appellate Procedure 32(a)(5) and the type-style requirements of Federal

Rule of Appellate Procedure 32(a)(6), as modified by Circuit Rule 32(b), because it has

been prepared in a proportionally spaced typeface using Microsoft Word 365 in 12-point

Book Antiqua font.



Dated: July 15, 2024                                   Respectfully submitted,

                                                       /s/ Yaakov M. Roth

                                                       Attorney for Petitioners




                                            15
        Case: 24-8017      Document: 10          Filed: 07/15/2024     Pages: 24


                             CERTIFICATE OF SERVICE

      I hereby certify that, on July 15, 2024, the foregoing document was filed with the

Clerk of the Court for the United States Court of Appeals for the Seventh Circuit by using

the appellate CM/ECF system. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the appellate CM/ECF system.



Dated: July 15, 2024                                   Respectfully submitted,

                                                       /s/ Yaakov M. Roth

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                                           16
